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                EXHIBIT B
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 2   Christopher K.L. Young (State Bar No. 318371)
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16   [Additional Counsel Listed on Signature Page]
17
                               UNITED STATES DISTRICT COURT
18                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
19
     Richard Kadrey, Sarah Silverman, Christopher           Case No. 3:23-cv-03417-VC
20   Golden, Michael Chabon, Ta-Nehisi Coates, Junot
21   Díaz, Andrew Sean Greer, David Henry Hwang,
                                                            PLAINTIFFS’ FIRST SET OF
     Matthew Klam, Laura Lippman, Rachel Louise             REQUESTS FOR PRODUCTION TO
22   Snyder, Ayelet Waldman, and Jacqueline Woodson,        DEFENDANT META
23          Individual and Representative Plaintiffs,

24          v.
     Meta Platforms, Inc., a Delaware corporation;
25
                                      Defendant.
26
27

28

30
      Case No. 3:23-cv-03417-VC
31                             PLAINTIFFS’ FIRST SET OF RFPS TO DEFENDANT META
              Case 3:23-cv-03417-VC Document 190-6 Filed 10/01/24 Page 3 of 6




 1           8.       In responding to these Requests for Production, You are to Include Documents (1)

 2   obtained from witnesses who gave information to any governmental agency or investigatory body,

 3   including Congress; (2) that constitute, refer or relate to summaries of testimony or other statements in

 4   connection with any governmental agency or investigatory body proceeding or investigation, including

 5   before Congress; or (3) obtained on Your behalf in preparation for testimony or interviews before any

 6   governmental agency or investigatory body, including Congress.

 7

 8                           REQUESTS FOR PRODUCTION OF DOCUMENTS

 9   REQUEST FOR PRODUCTION NO. 1

10           The Training Data for Llama 1.

11   REQUEST FOR PRODUCTION NO. 2

12           The Training Data for Llama 2.

13   REQUEST FOR PRODUCTION NO. 3

14           The Training Data for Llama 3.

15   REQUEST FOR PRODUCTION NO. 4

16           The Training Data comprising the “Books3” dataset referenced in the paper “LLaMA: Open and

17   Efficient Foundation Language Models,” and all Documents and Communications Concerning Your

18   selection and assembly of this dataset.

19   REQUEST FOR PRODUCTION NO. 5

20           The Training Data comprising the “Gutenberg” dataset referenced in the paper “LLaMA: Open

21   and Efficient Foundation Language Models”, and all Documents and Communications Concerning

22   Your selection and assembly of this dataset.

23   REQUEST FOR PRODUCTION NO. 6

24           Documents and Communications to, from, or with Project Gutenberg Concerning Training

25   Data.

26   REQUEST FOR PRODUCTION NO. 7

27           Documents and Communications to, from, or with Library Genesis (aka LibGen) Concerning

28   Training Data.

30    Case No. 3:23-cv-03417-VC                         10
                                  PLAINTIFFS’ FIRST SET OF RFPS TO DEFENDANT META
31
              Case 3:23-cv-03417-VC Document 190-6 Filed 10/01/24 Page 4 of 6




 1   REQUEST FOR PRODUCTION NO. 47

 2          All Documents and Communications Concerning the action entitled Huckabee et al. v. Meta

 3   Platforms, Inc., Case No. 1:23-cv-09152 (S.D.N.Y), Including any Documents and Communications

 4   You produce, or have produced, to any parties (or third-parties) in that action.

 5   REQUEST FOR PRODUCTION NO. 48

 6          All Documents You relied on in responding to Plaintiffs’ Interrogatory No. 14, served

 7   concurrently herewith.

 8   REQUEST FOR PRODUCTION NO. 49

 9          All Documents and Communications Concerning the decision to release the Meta Language

10   Models under what Meta calls an “open source” license.

11   REQUEST FOR PRODUCTION NO. 50

12          All Documents and Communications Concerning any individuals or entities who have been

13   given access to, or denied or limited access from, Llama 1 or Llama 2.

14

15   Dated: December 27, 2023
                                                      By:         /s/ Joseph R. Saveri
16                                                                   Joseph R. Saveri
                                                      Joseph R. Saveri (State Bar No. 130064)
17                                                    Cadio Zirpoli (State Bar No. 179108)
                                                      Christopher K.L. Young (State Bar No. 318371)
18                                                    Holden Benon (State Bar No. 325847)
19                                                    Kathleen J. McMahon (State Bar No. 340007)
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30    Case No. 3:23-cv-03417-VC                         15
                                  PLAINTIFFS’ FIRST SET OF RFPS TO DEFENDANT META
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30   Case No. 3:23-cv-03417-VC                         16
                                 PLAINTIFFS’ FIRST SET OF RFPS TO DEFENDANT META
31
              Case 3:23-cv-03417-VC Document 190-6 Filed 10/01/24 Page 6 of 6




 1                                           PROOF OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1000, San Francisco, California 94108. I am over the age of eighteen and

 4   not a party to this action.

 5           On December 27, 2023, I caused the following documents to be served by email upon all

 6   persons appearing on the attached Service List:

 7       •   PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT
             META
 8

 9       I declare under penalty of perjury that the foregoing is true and correct. Executed on December 27,
10   2023.
11

12

13                                                     Ruby Ponce
14

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30    Case No. 3:23-cv-03417-VC                          17
                                   PLAINTIFFS’ FIRST SET OF RFPS TO DEFENDANT META
31
